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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,
                                Plaintiff,

              v.                                                C.A. No. 22-cv-00027 (TSC)

ROBERT J. CONTEE III, et al.,

                              Defendants.




                                   [PROPOSED] ORDER

       UPON CONSIDERATION of Plaintiff’s Motion for a Court order under Fed. R. Civ. P.

41(a)(2) to dismiss her Complaint without prejudice, and for good cause shown, it is hereby

       ORDERED that the Plaintiff’s Complaint is dismissed without prejudice.

       .SO ORDERED.



Dated July____, 2022
:                                            _____________________________________
                                             THE HONORABLE TANYA S. CHUTKAN
                                             United States District Court Judge
